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                                            2:24mj219 CMR
 IN RE APPLICATION OF THE UNITED Case No. ____________________
 STATES OF AMERICA FOR AN
 ORDER PURSUANT TO 18 U.S.C.     Filed Under Seal
 § 2703(d)



                     APPLICATION OF THE UNITED STATES
                  FOR AN ORDER PURSUANT TO 18 U.S.C. § 2703(d)

       The United States of America, moving by and through its undersigned counsel,

respectfully submits under seal this ex parte application for an Order pursuant to 18

U.S.C. § 2703(d). The proposed Order would require Google, LLC. an email service

provider, headquartered in Mountain View, California to disclose certain records and

other information pertaining to the email accounts emal.khosti@gmail.com (Google

account ID 35771878871) and emal.khosti222@gmail.com (Google account ID

875053548332) as described in Part I of Attachment A. The records and other

information to be disclosed are described in Part II of Attachment A to the proposed

Order. In support of this application, the United States asserts:

                                LEGAL BACKGROUND

       1.     Google, LLC is a provider of an electronic communications service, as

defined in 18 U.S.C. § 2510(15), and/or a remote computing service, as defined in 18
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U.S.C. § 2711(2). Accordingly, the United States may use a court order issued under

§ 2703(d) to require Google, LLC to disclose the items described in Part II of Attachment

A. See 18 U.S.C. § 2703(c)(2) (Part II.A of Attachment A); 18 U.S.C. § 2703(c)(1) (Part

II.B of Attachment A).

       2.     This Court has jurisdiction to issue the proposed Order because it is “a

court of competent jurisdiction,” as defined in 18 U.S.C. § 2711. See 18 U.S.C. §

2703(d). Specifically, the District Court of Utah is a district court of the United States

that has jurisdiction over the offense being investigated. See 18 U.S.C. § 2711(3)(A)(i).

       3.     A court order under § 2703(d) “shall issue only if the governmental entity

offers specific and articulable facts showing that there are reasonable grounds to believe

that the contents of a wire or electronic communication, or the records or other

information sought, are relevant and material to an ongoing criminal investigation.” 18

U.S.C. § 2703(d). Accordingly, the next section of this application sets forth specific and

articulable facts showing that there are reasonable grounds to believe that the records and

other information described in Part II of Attachment A are relevant and material to an

ongoing criminal investigation.

                                  THE RELEVANT FACTS

       4.     The United States is investigating the attempted use of falsified visa

application documents for purposes of gaining a Special Immigrant Visa. The

investigation concerns possible violations of, inter alia, 18 U.S.C. § 1546.

       5.     In June of 2021, Emal Khan Khosti (KHOSTI) began compiling

documentation in order to immigrate to the United States by means of a Special


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Immigrant Visa. A Special Immigrant is a person who qualifies for lawful permanent

residence under one of several programs. Section 602(b) of the Afghan Allies Protection

Act of 2009, as amended, is a special immigrant program, which authorizes the issuance

of Special Immigrant Visas to Afghan nationals who meet certain requirements. The

requirement claimed to be met by KHOSTI on his application is that of having been

employed in Afghanistan for a period of at least one year between October 7, 2001 and

December 31, 2023 by, or on behalf of, the U.S. government. See

https://travel.state.gov/content/travel/en/us-visas/immigrate/special-immg-visa-afghans-

employed-us-gov.html#overview for further details.

      6.     On June 24, 2021, KHOSTI submitted a Supplemental Special Immigrant

Visa (SIV) Chief of Mission Application to the Department of State. In the application

KHOSTI indicated he had been employed by the Afzal Construction Company for three

separate, specified time periods between 01 May 2010 and 31 March 2013. On that

application, KHOSTI indicated he worked at Command Outpost (COP) Jalrez in Wardak,

Afghanistan from May 1st, 2010, to March 31st, 2011, under the supervision of 1st

Lieutenant Adam Jannetti. On the application KHOSTI also indicated he worked at

Forward Operating Base (FOB) Shank/Camp Maiwand in the Logar province of

Afghanistan from February 7th, 2012, to February 6th, 2013, under the supervision of

Captain Burton Milnor. Additionally, KHOSTI indicated on the application that he

worked at COP Conlon in Wardak, Afghanistan under the supervision of Major Elliott

Acevedo. On the Supplemental SIV Chief of Mission Application, KHOSTI did not

mention the name United States Army Warrant Officer Jaime Alberto Vela (VELA) as a


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supervisor for any time period.

       7.     On June 24th, 2021, VELA submitted a Letter of Recommendation for

KHOSTI regarding his request for a Special Immigrant Visa as an Afghan National. In

the Letter of Recommendation, VELA stated KHOSTI worked under his direct

supervision at FOB Shank from February 7th, 2012, until June 1st, 2012. However,

VELA’s Army deployment records indicate that he was not deployed to Afghanistan at

any point during 2012 and therefore could not have directly supervised KHOSTI.

       8.     VELA’s United States Army service records indicate he deployed to

Afghanistan on four separate occasions. According to those records, he deployed to

Afghanistan from March 4th, 2007 to October 25th, 2007, from May 4th, 2008 to January

29th, 2009, from July 25th, 2011 to November 20, 2011, and from January 12th, 2016 to

May 1st, 2016. According to VELA’s Army service records, he was not deployed to

Afghanistan at any point in 2012 when he claimed to have directly supervised KHOSTI

in the Letter of Recommendation. Consequently, there is probable cause to believe the

use of the Letter of Recommendation in furtherance of KHOSTI’s visa application is

fraudulent.

       9.     VELA is currently under investigation by the Department of Defense

Office of Inspector General Defense Criminal Investigative Service for crimes related to

the submission of fraudulent Letters of Recommendation on behalf of Afghan visa

applicants. VELA has submitted approximately 300 Letters of Recommendation for

Afghan visa applicants. Investigators suspect many of those Letters of Recommendation

are fraudulent.


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       10.     Public records checks indicated a phone number for KHOSTI of 725-272-

8802. The FBI contacted KHOSTI via that phone number and on October 19th, 2023, the

FBI interviewed KHOSTI and questioned him about his visa application. In that

interview, KHOSTI said he worked for the Afzal Construction Company in Afghanistan

from May 1, 2010 to March 31, 2013. He said he worked at FOB Shank, Camp Jalrez,

and Camp Maidwand. He said he worked as a driver, cleaned up trash inside the camp,

and that his VELA was his supervisor. KHOSTI said he had recently been in contact with

VELA via email to ask him to provide a new Letter of Recommendation for his visa

application.

       11.     Based on my training and experience, I assessed KHOSTI’s responses to

my questions about his employment on behalf of the U.S. military and his supervisors to

be untruthful. When I asked KHOSTI about the dates of his employment on behalf of the

U.S., he quickly provided the dates of May 1, 2010 and March 31, 2013 without needing

to consult any kind of records, as though he had the dates memorized. When I asked him

who supervised him at FOB Shank, Camp Jalrez, and Camp Maidwand, he only provided

the name of VELA. KHOSTI did not know what VELA’s role was, only that he was in

the U.S. Army. KHOSTI did not for how long or when VELA had supervised him. I

assessed KHOSTI’s responses to likely be untruthful because of how he remembered the

beginning and ending dates of his employment for the U.S. with great detail, but when

asked about his supervisors at the various locations where he had worked, he only

provided the one name of VELA. I assessed that KHOSTI was naming VELA as though




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he was a catch-all supervisor covering three different military installations over a period

of almost three years.


       12.    On KHOSTI’s Supplemental SIV Chief of Mission Application, he

indicated he used the email address emal.khosti222@gmail.com. A subpoena was issued

for the subscriber information for that email address. The returns indicated the email

account had a recovery email address of emal.khosti@gmail.com. A subpoena was then

issued for the subscriber information for emal.khosti@gmail.com. The subpoena returns

indicated both emal.khosti222@gmail.com and emal.khosti@gmail.com have a recovery

SMS number of +17252728802, the telephone number KHOSTI is known to use.

       13.    Based on the facts set forth above, there are reasonable grounds to believe

that KHOSTI’s email records found in Google accounts emal.khosti222@gmail.com and

emal.khosti@gmail.com are relevant and material to the investigation. The email records

are reasonably likely to provide evidence of KHOSTI and VELA’s communication as

KHOSTI procured falsified letters of recommendation from VELA in furtherance of his

attempt to acquire a Special Immigrant Visa, in violation of 18 U.S.C. § 1546.

                                 REQUEST FOR ORDER

       14.    The facts set forth in the previous section show that there are reasonable

grounds to believe that the records and other information described in Part II of

Attachment A are relevant and material to an ongoing criminal investigation.

Specifically, the records requested will help the United States to locate evidence of

historical communication between KHOSTI and VELA as KHOSTI sought to procure




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falsified letters of recommendation from VELA in furtherance of his attempt to acquire a

Special Immigrant Visa. Accordingly, the United States requests that Google, LLC be

directed to produce all items described in Part II of Attachment A to the proposed Order.

       15.    The United States further requests that the Order require Google, LLC not

to notify any person, including the subscribers or customers of the account(s) listed in

Part I of Attachment A, of the existence of the Order for a time period of one year. See 18

U.S.C. § 2705(b). This Court has authority under 18 U.S.C. § 2705(b) to issue “an order

commanding a provider of electronic communications service or remote computing

service to whom a warrant, subpoena, or court order is directed, for such period as the

court deems appropriate, not to notify any other person of the existence of the warrant,

subpoena, or court order.” Id. In this case, such an order would be appropriate because

the attached court order relates to an ongoing criminal investigation that is neither public

nor known to the target of the investigation, and its disclosure may alert the target to the

ongoing investigation. Accordingly, there is reason to believe that notification of the

existence of the attached court order will seriously jeopardize the investigation or unduly

delay a trial, including by giving targets an opportunity to flee or continue flight from

prosecution, destroy or tamper with evidence, and change patterns of behavior.

       16.    The United States further requests that the Court order that this application

and any resulting order be sealed until further order of the Court. As explained above,

these documents discuss an ongoing criminal investigation that is neither public nor

known to all of the targets of the investigation. Accordingly, there is good cause to seal




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these documents because their premature disclosure may seriously jeopardize that

investigation.




Respectfully Submitted on 4th day of March, 2024.



                                        TRINA A. HIGGINS
                                        United States Attorney



                                         _       _/s/ Cameron P. Warner
                                        CAMERON P. WARNER
                                        Assistant United States Attorney




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